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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS                      '   _,           37
                                    AUSTIN DIVISION

SPEECH FIRST, INC.,                             §
                         PLAINTIFF,             §
                                                §
V.
                                                          CAUSE NO. 1:18-CV-1078-LY
GREGORY L. FENVES,                              §
                 DEFENDANT.                     §


                         MEMORANDUM OPINION AND ORDER ON
                         MOTION FOR PRELIMINARY INJUNCTION

       Before the court in the above-styled and numbered cause are Plaintiff's Motion for

Preliminary Injunction filed December 21, 2018 (Dkt. No. 8), Defendant Gregory L. Fenves'

Response to Plaintiff's Motion for Preliminary Injunction filed January 28, 2019 (Dkt. No. 20),

Plaintiff's Reply in Support of its Motion for Preliminary Injunction filed February 4, 2019 (Dkt.

No. 25), Defendant Gregory L. Fenves' Objection to the Declaration of Nicole Neily Submitted

by Plaintiff in Support of its Motion for Preliminary Injunction filed January 28, 2019 (Dkt. No.

22), Plaintiff's Response to, or in the Alternative Motion to Strike, Defendant's Objections to the

Declaration of Nicole Neily filed February 4, 2019 (Dkt. No. 26), Defendant Gregory L. Fenves'

Response to Plaintiff's Alternative Motion to Strike Defendant's Objections to the Declarations

of Nicole Neily filed February   11, 2019 (Dkt. No. 27), and Plaintiff's Reply in Support    of its

Alternative Motion to Strike Defendant's Objections to the Declarations of Nicole Neily filed

February 18, 2019 (Dkt. No. 28). On March 1, 2019, the court held a hearing on the motions at

which all parties were represented by counsel.       Having considered the motions, responses,

replies, exhibits, applicable law, and the arguments of counsel, the court will deny the motion for

the reasons to follow.
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       I.      BACKGROUND

       The University of Texas at Austin ("the University") has adopted a number of different

policies concerning speech on its campus, some of which are housed in its Institutional Rules,

the Residence Hall Manual, and an Acceptable Use Policy.            In doing so, the University

endeavors to strike a difficult balance between robust protections for its students' First

Amendment rights and ensuring a learning environment free from discriminatory and harassing

speech or conduct. Plaintiff Speech First, Inc., ("Speech First") is an organization that seeks to

preserve the First Amendment rights of college students around the country.          Speech First,

presumably as part of its mission to preserve students' First Amendment rights, has solicited

students in a rather unsavory manner. On its website, it advertised "for $5, this free-speech group

will help you sue your university for censorship" by "[flaking aim at schools 'with a huge

endowment and an army of lawyers" It worked. Speech First filed this suit on behalf of three

anonymous students at the UniversityStudents A, B, and        Cwho     wish to express unpopular

viewpoints about pressing issues of the day, such as illegal immigration, affirmative action, the

nuclear family, and the #MeToo Movement.           Speech First contends that expressing these

unpopular views could be deemed "offensive," "harassing," "uncivil," or "rude" under the

University's policies, "thus risking investigation and formal or informal punishment" by the

University.    Speech First also says that expressing unpopular views "could result in an

accusation of a 'bias incident' or 'campus climate incident,' triggering an investigation by the

Campus Climate Response Team and potential formal or informal punishment." Speech First

argues that these University policies chill its members' speech and facially challenges these

policies under the First Amendment as overbroad and vague.
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       Speech First seeks a preliminary injunction to enjoin the University from (1) taking any

action to investigate, threaten, or punish students for violations of the prohibitions on "verbal

harassment," "incivility," "harassment," "intimidation," or "rudeness" found in the Institutional

Rules, the Residence Hall Manual, and the Acceptable Use Policy; and (2) using the Campus

Climate Response Team to investigate, log, threaten, or punish students for "bias incidents" or

"campus climate incidents."

       The University counters that Speech First lacks standing to sue because the anonymous

students do not face any credible threat of disciplinary action. First, the University maintains

that the type of speech at issue here is not prohibited by its policies. Second, the University

argues that the students self-censorship is unfounded and their apprehension of disciplinary

action illusory. Finally, the University argues that even if Speech First has standing, Speech

First does not meet its burden in showing that it is likely to succeed on the merits.

               A. The Institutional Rules (" the Rules")

       Chapter 13 of the Rules governs all speech, expression, and assembly that takes place on

campus, and students who violate the Rules may be subject to disciplinary action by the

University. The chapter begins by broadly pronouncing: "[t]he freedoms of speech, expression,

and assembly are fundamental rights       of all persons and are central to the mission of the

University." With this mission in mind, the Rules prohibit "any statement that constitutes verbal

harassment of any other person." Verbal harassment is defined as hostile or offensive speech,

oral, written, or symbolic, that:

                (A) is not necessary to the expression of any idea described in subsection
                     1   3-204(b)(2);
               (B) is sufficiently severe, pervasive, or persistent to create an objectively
                    hostile environment that interferes with or diminishes the victim's
                    ability to participate in or benefit from the services, activities, or
                     privileges provided by the University;


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              (C) and personally describes or is personally      irected to one or more
                  specific individuals.

The prohibition on verbal harassment provides a very important caveat. Verbal harassment does

not include "an argument for or against the substance of any political, religious, philosophical,

ideological, or academic idea is not verbal harassment, even if some listeners are offended by the

argument or idea." The Rules also provide several examples: "verbal harassment may consist of

threats, insults, epithets, ridicule, personal attacks" and may be based on "the victim's

appearance, personal characteristics, or group membership, including but not limited to race,

color, religion, national origin, gender, age, disability, citizenship, veteran status, sexual

orientation, gender identity or gender expression, ideology, political views, or political

affiliation." Finally, the Rules specify that the prohibition on verbal harassment "does not

exhaust the category of speech that is unnecessary and inappropriate to vigorous debate in a

diverse community of educated people," but that such categories are "community norms," which

"cannot be enforced by disciplinary rules."

              B. The Acceptable Use Policy

       The University maintains Internet technology resources, including computer devices,

applications, email addresses, and Internet access. The Acceptable Use Policy ("the Policy")

governs how students must use these services, and all students using these services must agree to

comply with the Policy. Should a student violate the Policy, the student may receive verbal

warning, revocation of access privileges, disciplinary probation, suspension from the university,

and criminal prosecution. The Policy encourages students to "be civil" and not send "rude or

harassing correspondence." The Policy reasonably advises that "if someone asks you to stop

communicating with him or her, you should. If you fail to do so, the person can file a complaint

and you can be disciplined."


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       The Policy also contains several limitations on its request for civility. For example, in a

section entitled "What are my First Amendment rights," the University makes clear that it

"place[s] great value on freedom of thought and expression."                 Because "[t]he University

community encompasses a wide array of opinions, views, approaches, and temperaments

[w]e do not punish or prevent expression that may be offensive but that violates no specific law

or university regulation." The Policy also puts students on notice of their free speech rights:

       In general, expressions of opinion by members of the University community that
       do not otherwise violate state and federal laws or university rules are protected as
       'free speech.' This is true even though the opinions expressed may be unpopular
       or offensive to some. . . . We encourage all those associated with the University to
       exercise their constitutional rights and freedoms responsibly. We do not, however,
       punish people who express views that may be unpopular or offensive, but who
       break no laws or University rules while doing so.

The Policy fmally states that "[d]isagreements between people, even heated arguments, unless

threatening or otherwise unlawful, are not considered violations     .   .   .   .   [The University] does,

however, strongly encourage all its users to be polite and courteous."

               C. The Residence Hall Manual ("the Manual")

       The Manual contains two policies governing "harassment" and "incivility."                   First, it

states that "[m]embers of an educational community should adhere to standards of civility and

good taste that reflect mutual respect."     It also makes clear that "[i]t is the policy            of the

University to maintain an educational environment free from harassment and intimidation." As

part of "an effort to foster an environment free from harassment and intimidation," the

University explains that "Residence Life is committed to responding appropriately to acts of

racism, sexism, heterosexism, cissexism, ageism, ableism, and any other force that seeks to

suppress another individual or group of individuals."   If such acts occur in a residence hail, "the

Residence Life staff, in conjunction with the Residence Hall Council, may lead a floor or hall

meeting to discuss the incident and decide, as a community, appropriate steps that need to be
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taken to address the incident." The Manual further warns that "residents who are suspected to

have engaged in harassment as defmed in the Institutional Rules will be referred to the Dean of

Students for possible disciplinary action."

       Second, The Manual provides that "[s]tudents are expected to behave in a civil manner

that is respectful of their community and does not disrupt academic or residential activity.

Uncivil behaviors and language that interfere with the privacy, health, welfare, individuality, or

safety of other persons are not permitted." At the same time, the Manual makes clear that

"[s]tudents are free to communicate their ideas vigorously; those who are opposed to such ideas,

whether in the classroom, the grounds of campus, or the residence halls, should tolerate the

expression even of views that they fmd offensive or unacceptable." Indeed, "[s]tudents who

passionately disagree about important matters should be able to confront one another civilly.

The best response to offensive speech is more free speech."

       The Manual puts residents on notice "to abide by all city, state, and federal laws/statutes,

all regulations   of the University and University of Texas System, as well   as all specific Housing

policies articulated in the Residence Hall Manual." It admonishes students that "[f]ailure to

abide by such laws and rules subjects the student to possible disciplinary action by the University

and/or criminal prosecution if warranted."




          The Manual sets forth a hierarchy of punishment for rule violations, depending on the
seriousness of the violation: "[i]n the context of suspected rule violations occurring in campus
residence halls, alleged misconduct will be documented and referred to the Complex Coordinator
of that area. Depending on the nature of the allegation and the totality of the circumstances, the
Complex Coordinator may refer the allegation to the Dean of Students for resolution or
adjudicate the matter through the residence hall conduct process." "Other consequences may
include reprimands, educational sanctions, room changes, removal from University Housing and
University discipline."
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                  D. The Campus Climate Response Team

       The Campus Climate Response Team serves as a University-wide team that develops and

facilitates the implementation of appropriate responses to perceived bias incidents impacting the

University community. Students or faculty may report what they perceive to be a "bias incident"

to the Team online, in person, or by phone. The Team maintains an online log of all reported

bias incidents.    Once a report is made, the core functions of the Team include: gathering

information and managing a reported incident; supporting individuals involved in an incident;

providing appropriate and effective education; identifying and connecting with appropriate

support services; evaluating the response process; and coordinating, when appropriate, activities

with other campus-wide entities, especially those involved with crisis management. The website

for the Team makes clear that it is a "non-adjudicating body" that "support[s] reporters of bias

incidents and to provide[s] information regarding university resources."           The Team also

addresses potential gaps in University policies and procedures that may impede the University's

ability to minimize bias incidents, in the hopes of creating a more welcoming and inclusive

environment.

       II.        APPLICABLE LAW

             A. Preliminary Injunction

       In order to obtain a preliminary injunction, Speech First must demonstrate (1) a

substantial likelihood of success on the merits; (2) a substantial threat of irreparable harm   if the

injunction does not issue; (3) that the threatened injury outweighs any harm that will result if the

injunction is granted; and (4) that the grant of an injunction is in the public interest. Moore     v.




Brown, 868    F.3d 398, 402-03 (5th Cir. 2017) (per curiam).




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              B. Standing

         Judicial power may be invoked to adjudicate a disagreement between litigants only if the

party bringing suit has standing to bring its claims. Article III of the Constitution limits the

exercise of judicial power to the "resolution of 'cases' and 'controversies."                   Valley Forge

Christian Coil.   v.   Americans United for Separation of Church & State, Inc., 454 U.S. 464, 471

(1982). Standing to bring suit is an "essential and unchanging part of the case-or-controversy

requirement." Lujan       v.   Defenders of Wild4fe, 504 U.S. 555, 560 (1992). Standing "limits the

category of litigants empowered to maintain a lawsuit in federal court to seek redress for a legal

wrong," Spokeo, Inc.      v.   Robins,      U.S.        ,   136 S. Ct. 1540, 1547 (2016), in order to ensure

that judicial power is invoked only to "redress or prevent actual or imminently threatened injury"

particular to the plaintiff. Summers       v.   Earth Island Inst., 555 U.S. 488, 492 (2009).

         The elements of standing are familiar: a plaintiff must have (1) suffered an injury in fact,

(2) that is fairly traceable to the challenged conduct of the defendant, and (3) that is likely to be

redressed by a favorable judicial decision. Lujan, 504 U.S. at 560-61. The plaintiff bears the

burden of establishing each of these elements "with the manner and degree of evidence required

at the successive stages       of the litigation." Id.      at 561. "Because a preliminary injunction 'may

only be awarded upon a clear showing that the plaintiff is entitled to such relief,' the plaintiff[J

must make a 'clear showing' that they have standing to maintain the preliminary injunction."

Barber   v.   Bryant, 860 F.3d 345, 352 (5th Cir. 2017) (citing Winter            v.   Nat. Res. Def Council,

Inc., 555 U.S. 7, 22 (2008)), cert. denied, 138 S. Ct. 652 (2018), and cert. denied sub

nom. Campaign for S. Equal. v. Bryant, 138 S. Ct. 671 (2018); see also Mazurek v. Armstrong,

520 U.S. 968, 972 (1997) ("[A] preliminary injunction is an extraordinary and drastic remedy,

one that should not be granted unless the movant, by a clear showing, carries the burden                   of
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persuasion.") (emphasis added). The court may not "create its own jurisdiction by embellishing

otherwise deficient allegations of standing."       Whitmore v. Arkansas, 495 U.S. 149, 155-56

(1990). "[S]tanding is not dispensed in gross," Lewis      v.   Casey, 518 U.S. 343, 358 n.6 (1996),

and "a plaintiff must demonstrate standing for each claim he seeks to press." DaimlerChrysler

Corp. v. Cuno, 547 U.S. 332, 352 (2006). Where a plaintiff does not present evidence sufficient

to meet its standing burden, the court lacks subject-matter jurisdiction, and the court must

dismiss the case. Fed. R. Civ. P. 12(h)(3).

       Though the requirements of standing are somewhat "relaxed in the First-Amendment

context," standing is relaxed "only as relating to the various court-imposed prudential

requirements of standing." Seals   v.   McBee, 898 F.3d 587, 591 (5th Cir. 2018). Even in the First-

Amendment context, plaintiffs "still must show that they satisfy the core Article III requirements

of injury, causation, and redressability." Id. Here, two theories of standing are relevant:

individual and associational standing.

       Because Speech First is suing on behalf of its members, it must show that it has

associational standing. An association seeking to "bring suit on behalf of its members" has

standing only if "its members would otherwise have standing to sue in their own right." Hunt      v.


Wash. State Apple Advert. Comm 'n, 432 U.S. 333, 343 (1977). Speech First must additionally

demonstrate that "the interests it seeks to protect are germane to the organization's purpose" and

"neither the claim asserted nor the relief requested requires the participation of individual

members in the lawsuit." Id.

       There are two ways in which an individual may establish an ongoing injury when seeking

to facially enjoin a policy alleged to violate her First Amendment rights: a credible threat of

prosecution or self-censorship that is objectively reasonable. See Seals, 898 F.3d at 593 n.13
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(distinguishing between credible threat of prosecution and self-censorship theories of standing).

Under a credible-threat-of-prosecution theory, "a plaintiff must produce evidence of an intention

to engage in a course of conduct arguably affected with a constitutional interest, but proscribed

by statute." Zimmerman      v.    Cily   of Austin,   Tex., 881 F.3d 378, 391 (5th Cir. 2018) (citing   Nat'l

Fed'n of the Blind of Tex.   v.   Abbott, 647 F.3d 202, 209 (5th Cir. 2011)), cert. denied, 139 S. Ct.

639 (2018). A plaintiff must also establish a "credible threat         of prosecution." Id. (citing Babbitt

v.   United Farm Workers Nat'l Union, 442 U.S. 289, 298 (1979)); see also Susan B. Anthony List

v.   Driehaus, 573 U.S. 149, 159 (2014). Under a self-censorship theory, a plaintiff may argue her

future speech is chilled by a policy, though not prohibited by it. If a plaintiff claims to have self-

censored due to a fear of punishment, the self-censorship must be objectively reasonable and

arise from a fear   of punishment that is not "imaginary or wholly speculative." Zimmerman,              881

F.3d at 390; Babbitt, 442 U.S. at 302. Thus, "[a]llegations of a subjective 'chill' are not an

adequate substitute for a claim of specific present objective harm or a threat of specific future

harm." Laird v. Tatum, 408 U.S.          1,   13-14 (1972).

          As a preliminary matter, this court addresses Speech First's incomplete formulation             of

standing in the First-Amendment context.                 Speech First contends that no history of past

enforcement of a policy is required to allege standing; instead, it argues that the mere existence

of an allegedly vague or overbroad statute is an injury in itself. See Ctr. for Individ. Freedom           v.


Carmouche, 449 F.3d 655, 660 (5th Cir. 2006). By invoking this passage from Carmouche,

Speech First asks this court to hold that the mere invocation of the First Amendment will suffice

for standing purposes.

          Contrary to Speech First's arguments, the "invocation of the First Amendment cannot

substitute for the presence of an imminent, non-speculative irreparable injury." See Google, Inc.



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v.   Hood, 822 F.3d 212, 227-28 (5th Cir. 2016) (finding enforcement not sufficiently immediate

to warrant injunction; remanding with instructions to dismiss). Carmouche itself recognizes that

more is required than an allegedly vague or overbroad statutethe court held that a plaintiff's

"self-censorship must arise from a fear of prosecution that is not imaginary or wholly

speculative." Carmouche, 449 F.3d at 660. And, as the Fifth Circuit recently affirmed, there

remains a "core requirement that to bring a preenforcement challenge, a plaintiff must 'produce

evidence of an intention to engage in a course of conduct arguably affected with a constitutional

interest, but proscribed by statute,' as well as a 'credible threat of prosecution." Zimmerman,

881 F. 3d at 388 (citing Nat '1   Fed 'n    of the   Blind of Tex., 647 F.3 d at 209; Babbitt, 442 U.S. at

298; Susan B. Anthony List, 573 U.S. at 163-64); see also Seals, 898 F.3d at 592-93 n.13

(characterizing Carmouche as "holding that the real chilling of intended speech, brought about

by a real threat of future prosecution, is enough to establish Article III standing") (emphasis

added). A careful review of Supreme Court and Fifth Circuit standing jurisprudence in the First-

Amendment context confirms what the Fourth Circuit recently observed: that "a credible threat

of enforcement    is critical; without one, a putative plaintiff can establish neither a realistic threat

of legal sanction if he engages in the speech in question, nor an objectively good reason for

refraining from speaking and 'self-censoring' instead." Abbott            v.   Pastides, 900 F.3d 160, 176

(4th Cir. 2018), cert. denied,         S.    Ct.,      No. 18-704, 2019 WL 1005925 (Mar. 4, 2019)

Although Speech First is correct that proof of past-enforcement of the University policies is not

an absolute requirement for standing, Speech First must still allege a credible threat                  of

enforcement of the University policies.




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       III.     ANALYSIS

       In order to prove an injury sufficient to claim a credible threat of enforcement, Speech

First must produce evidence clearly showing that its members "inten[d] to engage in a course of

conduct" that is constitutionally protected and proscribed by University policies. Zimmerman,

881 F.3d at 391.2 Speech First could also present evidence clearly showing that its students'

self-censorship is objectively reasonable because their fear of punishment is not "imaginary or

wholly speculative." Id. at 390; Rabbit, 442 U.S. at 302. For the reasons stated below, the court

fmds that Speech First fails to present sufficient evidence that its members intend to engage in

speech proscribed by the language of the challenged University policies. See Zimmerman, 881

F.3d at 390; Nat'! Fed'n of the Blind of Tex., 647 F.3d at 209; Miss. State Democratic Party   v.


Barbour, 529 F.3d 538, 545-47 (5th Cir. 2008). Nor does Speech First present sufficient

evidence that its members' self-censorship is objectively reasonable based on a credible threat of

punishment under the University policies.

           Speech First alleges that three anonymous student members wish to discuss and debate

controversial topics on campus, including illegal immigration, affirmative action, the Second

Amendment, the #MeToo Movement, support for President Trump, support for Israel, and

support for the confirmation of Justice Kavanaugh to the United States Supreme Court. For

example, the complaint alleges that Anonymous Student A "supports Israel, believes in a race-

blind society, supports President Trump, is pro-life, and supports the border wall." Anonymous

Student B "strongly supports the Second Amendment right to keep and bear arms, believes in a

race-blind society, and has serious concerns that the 'Me Too' movement will erode due

process." Student B also believes that "affirmative action should be prohibited and that Justice
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            The University does not dispute that the speech of the student members is entitled to
the protections of the First Amendment.

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Kavanaugh was innocent of the accusations made against him and was properly confirmed to the

U.S. Supreme Court." Anonymous Student C, who lives in the University housing, "believes

that the breakdown of the nuclear family has had many negative effects on society, he is strongly

pro-life, he strongly supports the Second Amendment, and he believes that Justice Kavanaugh

was treated unfairly during his confirmation proceedings." Speech First provides no supporting

affidavits from Students A, B, or C about any specific statements they wish to   make.3


       Instead, Speech First presents a generalized affidavit by the president of Speech First,

Nicole Neily, stating that student members seek to discuss controversial topics but are prevented

from doing   so.4   The declaration states that Neily is "personally familiar with several   of Speech

First's members at the University." She further declares that Speech First's members "hold a

wide array of different views and opinions on matters such as politics, race, religion, gender

identity, abortion, gun rights, immigration, foreign affairs, and countless other sensitive and

controversial topics." She attests that student members "want to be able to have open and robust

intellectual debates and discussions about these issues in their dormitories, on campus, online,

and in the City of Austin." She claims that student members are "afraid to voice their views out

of fear that their speech" may violate University policies.




         In fact, the anonymous students are neither identified in the pleadings, nor in any other
documents submitted to this court. The only information known about Students A, B, and C, is
that summarized above.

          The University objects to evidence contained within Neily' s declaration as hearsay,
lacking foundation, and calling for speculation. These objections are unfounded, because this
court may consider otherwise inadmissible evidence at the preliminary-injunction stage. See
Sierra Club, LOne Star Chapter v. F.D.I.C., 992 F.2d 545, 551 (5th Cir.1993) ("[Alt the
preliminary injunction stage, the procedures in the district court are less formal, and the district
court may rely on otherwise inadmissible evidence, including hearsay evidence."). The
University's objections are therefore overruled.

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       Based solely on the generalized allegations and declarations of the speech in which

Students A, B, and C generally wish to engage, Speech First asks this court to conclude that

Students A, B, and C face a credible threat that the speech in which they seek to engage would

be considered "harassment," "uncivil," "rude," or "offensive" under the Institutional Rules, the

Residence Hall Manual, or the Acceptable Use Policy.

       Based on the same factual allegations, Speech First also alleges that Students A, B, and C

face a credible threat that their speech would be reported as a bias incident and would lead to an

investigation and formal or informal punishment by the Campus Climate Response Team.

Speech First mentions in its complaint several conservative events on campus that triggered

reports by University students to the Team. These events, Speech First contends, reinforce "that

certain viewpoints are not welcome on campus and will be met with retribution from the

University and other students." Speech First also posits that the Team received 100 reports of

bias incidents in the 2017 to 2018 school year and more than 1000 reports of bias since 2012.

        "Standing is not created by a declaration in court pleadings,"   Miss. State Democratic


Party, 529 F.3d at 545-46, and Speech First offers no more than generalized declarations of

broad categories of speech in which Students A, B, and C wish to engage. The topics that the

students wish to discussaffirmative action, the #MeToo Movement, President Trump,

immigration, Justice Kavanaugh, and the Second Amendmentare not prohibited by the

language of the Institutional Rules, the Residence Hall Manual, or the Acceptable Use Policy.

The complete dearth of specific evidence of the speech in which the students wish to engage is

especially problematic at this juncture. Without such evidence, this court cannot determine

whether Students A, B, and C have an intention to engage in speech that is prohibited or




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arguably covered by the challenged policies. Cf Zimmerman, 881 F.3d at 390; Nat? Fed'n of

the Blind of Tex., 647 F.3d at 209; Miss. State Democratic Party, 529 F.3d at 545-47.

          Likewise, Speech First proffers no evidence that the University has punished students for

violating the Institutional Rules, the Residence Hall Manual, or the Acceptable Use Policy. To

the contrary, the University presents substantial evidence that no such history of punishment

exists. For example, Dr. Soncia Reagins-Liily, the Dean    of Students and administrator in charge

student discipline at the University, confirms by affidavit that the University has not sanctioned

any students for the content of their speech. Dr. Reagins-Lilly also confirms that although the

University desires civility on campus, the rules make clear that aspirations of civility are

community norms that cannot be enforced by disciplinary rules. The University also presents

evidence that "no student at the University has been investigated or punished by the Campus

Climate Response Team for engaging in speech or expression protected by the First

Amendment."       And the record also makes clear that the Campus Climate Response Team does

not engage in investigations or punishment of any sort.

          In sum, Speech First presents no evidence that any University   studentsmuch less any of

Speech First's student membershave been disciplined, sanctioned, or investigated for their

speech.      And without any evidence of a credible threat of enforcement of the challenged

policiesmuch less the "clear showing" required to support standing              at the preliminary-

injunction   stagethis   court concludes that the students' self-censorship is not based on a well-

founded threat of punishment under the University policies that is not "imaginary or wholly

speculative." Barber, 860 F.3 d at 352. Because Speech First's student members have not made

a clear showing that they "have standing to sue in their own right," Speech First likewise does




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not have standing to sue.   Hunt,   432 U.S. at 343. As such, this court lacks the subject-matter

jurisdiction and must dismiss. Fed. R. Civ. P. 12(h)(3).

       IT IS THEREFORE ORDERED that Plaintiff's Motion for Preliminary Injunction

filed December 21, 2018 (Dkt. No. 8) is DENIED.

       IT IS FURTHER ORDERED that Defendant Gregory L. Fenves' Objection to the

Declaration of Nicole Neily Submitted by Plaintiff in Support of its Motion for Preliminary

Injunction filed January 28, 2019 (Dkt. No. 22) is OVERRULED. Accordingly, Plaintiffs

Response to, or in the Alternative Motion to Strike, Defendant's Objections to the Declaration of

Nicole Neily filed February 4, 2019 (Dkt. No. 26) is DISMISSED.

        IT IS FURTHER ORDERED that Speech First Inc.'s claims against Gregory L. Fenves

are DISMISSED without prejudice for lack of standing.

        SIGNED this                 day of June, 2019.




                                              UN TED STATE DISTRJCT JUDGE




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